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Counsel for Defendants

                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY



ANN LEWANDOWSKI, on her own behalf and                Civil Action No.: 3:24-cv-671-ZNQ-RLS
on behalf of all others similarly situated,

               Plaintiff,
                                                      Hon. Zahid N. Quraishi
v.                                                    Hon. Rukhsanah L. Singh

JOHNSON AND JOHNSON, THE PENSION
& BENEFITS COMMITTEE OF JOHNSON
AND JOHNSON, PETER FASOLO,                            CERTIFICATION OF SERVICE
WARREN LUTHER, LISA BLAIR DAVIS,
and DOES 1-20.

               Defendants.


       I, Jeffrey S. Chiesa, certify that on April 19, 2024, I caused copies of the following documents

to be served electronically on all registered counsel of record via ECF, and such documents are

available for viewing and downloading from the ECF system with respect to the motion to dismiss

and strike the jury demand filed by Johnson & Johnson, the Pension & Benefits Committee of

Johnson & Johnson, Peter Fasolo, Warren Luther, and Lisa Blair (collectively, “Defendants”) in the

above-captioned proceeding:

       (1) Notice of Motion to Dismiss the Complaint and Strike the Jury Demand;

       (2) Brief in Support of Defendants’ Motion to Dismiss the Complaint and Strike the Jury
       Demand;


       (3) Declaration of Jeffrey S. Chiesa in Support of Defendants’ Motion to Dismiss the
       Complaint and Strike the Jury Demand; and


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       (4) Proposed Form of Order.



Dated: April 19, 2024                            CHIESA SHAHINIAN & GIANTOMASI PC
                                                 Counsel for Defendants

                                                 By: /s/ Jeffrey S. Chiesa
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